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                                                   #:7596



                   1 QUINN EMANUEL URQUHART OLIVER & HEDGES, LLP
                        John B. Quinn (Bar No . 090378)
                   2     ohnquinn quinnemanuel .com
                        Michael Teller (Bar No . 196417)
                   3 (michaelzeller@quinnemanuel .com)
                         on D. Corey (Bar No . 185066
                   4 (joncoreyqumnemanuel .com
                      865 South Figueroa Street, 10th Floor
                   5 Los Angeles, California 90017-2543
                      Telephone : (213) 443-3000
                   6 Facsimile : (213) 443-3100
                   7 Attorneys for Mattel, Inc.
                   8                            UNITED STATES DISTRICT COURT
                   9                        CENTRAL DISTRICT OF CALIFORNIA
                  10                                 EASTERN DIVISION
                  11 CARTER BRYANT, an individual,            CASE NO. CV 04-9049 SGL (RNBx)
                  12               Plaintiff,                 Consolidated with
                                                              Case No . CV 04-09059
                  13        vs .                              Case No . CV 05-02727

                  14 MATTEL, INC ., a Delaware                DISCOVERY MATTER
                     corporation,                             go Be Heard By Discovery Master
                  15                                           on . Edward Infante (Rt,)]
                                  Defendant.
                  16                                          [PUBLIC REDACTED]
                                                              DECLARATION OF MICHAEL T.
                  17 AND CONSOLIDATED ACTIONS                 ZELLER IN SUPPORT OF MATTEL,
                                                              INC .'S MOTION AND MOTION TO
                  18                                          COMPEL PRODUCTION OF
                                                              IMPROPERLY WITHHELD MGA
                  19                                          DOCUMENT SHOWING MGA'S
                                                              AND BRYANT'S
                  20                                          MISREPRESENTATIONS TO THE
                                                              PATENT OFFICE IN CONNECTION
                  21                                          WITH BRATZ AND TO COMPEL
                                                              30(B)(6) TESTIMONY
                  22
                                                              Hearing Date :    January 4, 2008
                  23                                          Time:             9 :00 a.m.
                                                              Place:            Telephonic
                  24
                                                              Phase I:
                  25                                          Discovery Cut-off: January 28, 2008
                                                              Pre-trial Conference: May 5, 2008
                  26                                          Trial Date : May 27, 2008
                  27
                  28
072092312068 .2

                                                               ZELLER DECLARATION ISO MOTION TO COMPEL
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                    1                     DECLARATION OF MICHAELT.ZELLER
2                                   I, Michael T. Zeller, declare as follows:
                    3                1.    I am a member of the bars of the States of California, New York
                    4 and Illinois and a partner at Quinn Emanuel Urquhart Oliver & Hedges, LLP,
                    5 attorneys for plaintiff and counter-defendant, Mattel, Inc . ("Mattel") . I make this
                    6 declaration of personal, firsthand knowledge and, if called and sworn as a witness, I
                    7 could and would testify competently thereto.
                    8               2.     MGA Entertainment, Inc . ("MGA") produced to Mattel a
                    9 document bearing Bates numbers MGA 0825680-0825682 . The first page of this
                   10 document is a standard fax cover sheet that appears to have been sent by Bobby
                   11 Newquist to Alan Rose, MGA's patent attorney at the time . Following the fax cover
                   12 sheet are faxed technical drawings of a
                   13           . As I recall them, the drawings themselves do not contain any substantive
                   14 written communications from Mr . Newquist to Mr. Rose.
                   15               3.     During the deposition of Bryan Armstrong, MGA's Rule 30(b)(6)
                   16 designee on patent and trademark applications, among other topics, MGA asserted
                   17 the attorney-client privilege over this document and refused to allow questions about
                   18 it . Attached hereto as Exhibit 1 are true and correct copies of relevant excerpts from
                   19 the Deposition of Bryant Armstrong, dated July 18, 2007.
                   20               4.     By letter dated August 17, 2007, MGA again claimed the
                   21 document was privileged and inadvertently produced . Attached as Exhibit 2 is a
                   22 true and correct copy of the letter counsel for MGA sent to my partner, Timothy L.
                   23 Alger, dated August 17, 2007 . Mattel destroyed its copies of these documents and
                   24 so certified by letter dated August 22, 2007 . Attached hereto as Exhibit 3 is a true
                   25 and correct copy of a letter my associate, Heidi Frahm, sent to counsel for MGA,
                   26 dated August 23, 2007.
                   27               5.     MGA produced to Mattel a document entitled United States
                   28 Patent Application for Doll with Aesthetic Changeable Footgear, Bates numbered
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                                                                        ZELLER DECLARATION ISO MOTION TO COMPEL
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                     1 MGA 0825485 - MGA 0825495 . Attached hereto as Exhibit 4 is a true and correct
                     2 copy of the patent application, as produced by MGA.
                     3               6.     The drawings in the withheld document at issue now appear to
                     4
                     5
                     6
                     7
                     8               7.     MGA produced to Mattel a non-final United States Patent and
                     9 Trademark Office Action Summary dated May 12, 2003, Bates numbered MGA
                    10 0825466 - MGA 0825471 . Attached hereto as Exhibit 5 is a true and correct copy
                    11 of the Non-Final Office Action, as produced by MGA.
                    12               8.     MGA produced to Mattel a final United States Patent and
                    13 Trademark Office Action Summary dated October 28, 2003, Bates numbered MGA
                    14 0825438 - MGA 0825455, rejecting the patent application attached hereto as Exhibit
                    15 4 . Attached hereto as Exhibit 6 is a true and correct copy of the Final Office Action,
                    16 as produced by MGA.
                    17               9.     MGA produced to Mattel a document entitled Declaration of
                    18 Carter Bryant, Bates numbered MGA 0825457-MGA 0825460 . Attached hereto as
                    19 Exhibit 7 is a true and correct copy of Mr . Bryant's declaration, as produced by
                    20 MGA.
                    21               10 . Attached hereto as Exhibit 8 is a true and correct copy of a letter
                    22 I sent to Thomas Nolan, counsel for MGA, dated October 29, 2007.
                    23               11 . Following Mattel's requests for a conference of counsel, my
                    24 partner Dylan Proctor met and conferred with Amy Park, counsel for MGA,
                    25 regarding this matter . Based on the authorities provided by Mattel, MGA agreed to
                    26 produce the fax cover sheet it had previously withdrawn, but continued to refuse to
                    27 produce the attached drawings . Attached hereto as Exhibits 9 and 10 are true and
                    28 correct copies of letters Ms . Park sent to Mr . Proctor, dated December 5, 2007.
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                   1               12. Attached hereto as Exhibit 11 are true and correct copies of
                   2 relevant excerpts from the Deposition of Carter Bryant, dated November 4-8, 2004 .        u
                   3
                   4
                   5               I declare under penalty of perjury under the laws of the United States of   p
                   6 America that the foregoing is true and correct.
                   7               Executed on December 10, 2007, at Los Angeles, California.
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                                                                Michael T . Zel r
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